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 2
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     1776 North Pine Island Road, Suite 224
 4   Plantation, Florida, 33322
     Attorney for Plaintiff
 5

 6

 7                                 UNITED STATES DISTRICT COURT
 8
                                           DISTRICT OF OREGON
 9
                                            PORTLAND DIVISON
10

11

12   STARLET STENSON,                                    Case No.:
13
                                     Plaintiff,
14
     v.                                                  COMPLAINT
15                                                       Personal Injury Action (28 U.S.C. §1332)
16   SAFEWAY, INC., a Delaware corporation,              [DEMAND FOR JURY TRIAL]

17                          Defendant.
     _____________________________________
18

19           For her claims for relief against Defendant Safeway, Inc., Plaintiff Starlet Stenson alleges

20   the following:
21
                                                  I.   PARTIES
22
             1.       At all times relevant to this Complaint, plaintiff Starlet Stenson (“Plaintiff”) was
23
     an individual residing in the city of Portland, county of Multnomah, state of Oregon.
24

25

26

27




     1 – COMPLAINT FOR DAMAGES                                       Law Offices of Goldberg & Loren, P.A.
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 1          2.      At all times relevant to this Complaint, defendant Safeway, Inc. (“Safeway”) was
 2
     a foreign Delaware corporation whose principal place of business is at 5918 Stoneridge Mall
 3
     Road, Pleasanton, California, 94588.
 4
            3.      At all times relevant to this Complaint, defendant Safeway was in possession of,
 5

 6   owned, operated, repaired, maintained, and controlled retail a grocery store located at 1303 N.
 7   Lovejoy St., Portland, Oregon, 97209, in the county of Multnomah.
 8
                                   II.      JURISDICTION AND VENUE
 9
            4.      This Court has jurisdiction over this matter pursuant to 28 USC §§1332.
10

11          5.      The amount in controversy exceeds, exclusive of interest and costs, the sum of

12   $75,000, and the action is between parties with complete diversity of citizenship.
13
            6.      Plaintiff’s claims arose in Multnomah County, Oregon, making venue appropriate
14
     in the United States District Court for the District of Oregon, Portland Division, under 28 USC
15

16   §§1391.

17                                 III.     FIRST CAUSE OF ACTION
18                           (Common Law Negligence – Premises Liability)
19
            7.      Plaintiff realleges and incorporates by reference paragraphs 1 to 6.
20
            8.      Defendant Safeway owed a duty to exercise reasonable care to make the premises
21

22   located at 1303 N. Lovejoy St., Portland, Oregon, 97209, safe for patrons, including Plaintiff.

23          9.      On or about August 29, 2020, Plaintiff was a patron and business invitee of
24
     Defendant’s grocery store.
25
            10.     Plaintiff was looking for lightbulbs and WD40 aisle, when she slipped and fell
26

27   when she stepped in a puddle of water. She had things in her hands that she dropped when she



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 1   slipped and fell and landed on her wrist and elbow. Plaintiff sustained a severe injuries on her
 2
     wrist and elbow as well as other physical injuries secondary to the slip and fall.
 3
             11.     Defendant Safeway breached its duty owed to invitees, including Plaintiff, by
 4
     maintaining said premises in a defective, dangerous, and unsafe condition in that defendant
 5

 6   Safeway either knew of the standing water due to a broken freezer in the adjacent aisle and failed
 7   to use reasonable diligence to remove the water, fix the broken freezer; and that defendant
 8
     Safeway should, in the exercise of reasonable care, have discovered it and removed it, and/or
 9
     placed cautionary signs regarding an wet flooring condition in which posed a tripping hazard to
10

11   invitees, including Plaintiff.

12           12.     Defendant Safeway failed to warn Plaintiff and others of said dangerous,
13
     defective, and unsafe conditions although defendant Safeway knew, or in the exercise of
14
     reasonable care, should have discovered the unsafe condition and realized or should have
15

16   realized that the condition of the floor presented an unreasonable risk of harm to invitees,

17   including Plaintiff.
18           13.     Defendant Safeway knew, or in the exercise of reasonable care, should have
19
     known, that the dangerous, defective, and unsafe condition of the floor, as set forth in Paragraph
20
     10 herein, would not be discovered by Plaintiff and further, defendant Safeway failed to exercise
21

22   reasonable care to protect or warn Plaintiff against this danger.

23           14.     As a proximate case of the incident described in this complaint herein, Plaintiff
24
     incurred in the past and will incur in the future medical expenses thereby entitling her to
25
     economic damages in an amount to be proved at trial.
26

27           16.     As a further proximate cause of the incident described in this complaint herein,

     Plaintiff was injured in the past and into wherein she sustained emotion distress, pain and

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 1   suffering, inconvenience and other non-economic damages all in an amount to be proved at
 2
     trial.
 3
              WHEREFORE, Plaintiff prays for an award judgment in her favor and against Defendant
 4
     as follows:
 5

 6            1.    For non-economic damages in an amount to be proved at the time of trial but
 7   which exceed the jurisdictional limits of this Court.
 8
              2.    For economic damages in an amount to be proved at the time of trial, but which
 9
     exceed the jurisdictional limits of this Court.
10

11            3.    For costs and disbursements incurred herein; and

12            4.    For such other relief as this Court deems just and proper.
13

14
                                                             Respectfully submitted,
15
                                                             By: /s/ James M. Loren
16                                                               James M. Loren, Esq.
17                                                               Oregon Bar No: 184862

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